     Case 23-11840-KHK                             Doc 7 Filed 11/15/23 Entered 11/16/23 00:17:04                                         Desc Imaged
                                                        Certificate of Notice Page 1 of 6
Information to identify the case:

Debtor 1:
                      Jeremiah J Wilks                                               Social Security number or ITIN:   xxx−xx−8799
                                                                                     EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name    Last Name

Debtor 2:                                                                            Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)                                                                  EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Eastern District of Virginia                  Date case filed for chapter:        7     11/9/23

Case number:           23−11840−KHK

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                 12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                         About Debtor 2:

1.      Debtor's full name                        Jeremiah J Wilks

2.      All other names used in the
        last 8 years

3.      Address                                   13678 Bent Tree Circle, Apt. 101
                                                  Centreville, VA 20121

4.      Debtor's attorney                         Robert D. Moreton                                       Contact phone (703) 437−7305
        Name and address                          Moreton & Edrington, PLC                                Email: rdm@melawva.com
                                                  297 Herndon Parkway
                                                  Suite 203
                                                  Herndon, VA 20170

5. Bankruptcy trustee                            H. Jason Gold                                        Contact phone 804−223−2031
   Name and address                              H. Jason Gold, Trustee                               Email:
                                                 P.O. Box 57359                                       goldtrustee@fiduciaryservicesgroup.com
                                                 Washington, DC 20037
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
    Case 23-11840-KHK                            Doc 7 Filed 11/15/23 Entered 11/16/23 00:17:04                                         Desc Imaged
                                                      Certificate of Notice Page 2 of 6
Debtor Jeremiah J Wilks                                                                                       Case number 23−11840−KHK


6. Bankruptcy clerk's office                     200 South Washington Street                            For the Court:
                                                 Alexandria, VA 22314
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: November 13, 2023
    https://pacer.uscourts.gov.            Contact phone 703−258−1200
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          December 6, 2023 at 10:00 AM                       Location:
                                                                                                    Zoom video meeting. Go to
    Debtors must attend the meeting to be       The meeting may be continued or adjourned to a Zoom.us/join, Enter Meeting ID
    questioned under oath. In a joint case,     later date. If so, the date will be on the court
    both spouses must attend. Creditors may                                                         774 319 1984, and Passcode
    attend, but are not required to do so.      docket.                                             7299037886, or call 1(571)
                                                                                                    832−1846
                                      For additional meeting information go to: www.justice.gov/ust/moc

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: February 5,
                                               to challenge whether certain debts are                   2024
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
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                                                 Certificate of Notice Page 3 of 6
Debtor Jeremiah J Wilks                                                                                        Case number 23−11840−KHK


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                       you believe that the law does not authorize an exemption that the debtors claim, you may file
                                       an objection. The bankruptcy clerk's office must receive the objection by the deadline to object
                                       to exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Exact Change Only accepted as of December 16, 2013, for payment of fees and services.
    Alexandria Case and                Payment may be made by non−debtor's check, money order, cashier's check made payable
    Adversary Filing and               to Clerk, U.S. Bankruptcy Court, or any authorized non−debtor's credit card.
    Miscellaneous Requests
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
@ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline           page 3
       Case 23-11840-KHK                      Doc 7 Filed 11/15/23 Entered 11/16/23 00:17:04                                            Desc Imaged
                                                   Certificate of Notice Page 4 of 6
                                                              United States Bankruptcy Court
                                                               Eastern District of Virginia
In re:                                                                                                                 Case No. 23-11840-KHK
Jeremiah J Wilks                                                                                                       Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0422-9                                                  User:                                                                       Page 1 of 3
Date Rcvd: Nov 13, 2023                                               Form ID: 309A                                                             Total Noticed: 28
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 15, 2023:
Recip ID                 Recipient Name and Address
db                     + Jeremiah J Wilks, 13678 Bent Tree Circle, Apt. 101, Centreville, VA 20121-4561
16274595                 0047 Life Storage, PO Box 64378, Saint Paul, MN 55164-0378
16274597                 American Express, 13678 Bent Tree Circle, Apt 101P.O. Box 981535, El Paso, TX 79998
16274598               + Bent Tree Apartments, 13630 Bent Tree Circle, CENTREVILLE, VA 20121-4500
16274601               + County of Fairfax, P.O. Box 10202, Fairfax, VA 22035-0202
16274607                 First Electronic Bank, 320 E Big Beaver Rd, Troy, MI 48083-1238
16274616               + MWT Productions, 1108 EAST MAIN ST STE 906 #1589, Richmond, VA 23219-3534

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: rdm@melawva.com
                                                                                        Nov 14 2023 04:56:00      Robert D. Moreton, Moreton & Edrington, PLC,
                                                                                                                  297 Herndon Parkway, Suite 203, Herndon, VA
                                                                                                                  20170
tr                     + EDI: FHJGOLD.COM
                                                                                        Nov 14 2023 09:50:00      H. Jason Gold, H. Jason Gold, Trustee, P.O. Box
                                                                                                                  57359, Washington, DC 20037-0359
16274596                  EDI: LCIICSYSTEM
                                                                                        Nov 14 2023 09:50:00      AES, Attn: Bankruptcy, PO Box 64378, Saint
                                                                                                                  Paul, MN 55164-0378
16274599                  EDI: CAPITALONE.COM
                                                                                        Nov 14 2023 09:50:00      Capital One, Attn: Bankruptcy, PO Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
16274600                  EDI: CAPITALONE.COM
                                                                                        Nov 14 2023 09:50:00      Capital One, PO Box 31293, Salt Lake City, UT
                                                                                                                  84131-0293
16274602                  Email/Text: electronicbkydocs@nelnet.net
                                                                                        Nov 14 2023 04:57:00      Dept of Education/Neln, PO Box 82561, Lincoln,
                                                                                                                  NE 68501-2561
16274603                  EDI: DISCOVER.COM
                                                                                        Nov 14 2023 09:50:00      Discover Financial, PO Box 30939, Salt Lake
                                                                                                                  City, UT 84130-0939
16274604                  EDI: DISCOVER.COM
                                                                                        Nov 14 2023 09:50:00      Discover Financial, Attn: Bankruptcy, PO Box
                                                                                                                  3025, New Albany, OH 43054-3025
16274609                  Email/Text: GSBankElectronicBankruptcyNotice@gs.com
                                                                                        Nov 14 2023 04:56:00      Goldman Sachs Bank USA, Attn: Bankruptcy, PO
                                                                                                                  Box 70379, Philadelphia, PA 19176-0379
16274608                  Email/Text: GSBankElectronicBankruptcyNotice@gs.com
                                                                                        Nov 14 2023 04:56:00      Goldman Sachs Bank USA, PO Box 6112,
                                                                                                                  Philadelphia, PA 19115-6112
16274610                  EDI: LCIICSYSTEM
                                                                                        Nov 14 2023 09:50:00      I.C. System, Inc, PO Box 64378, Saint Paul, MN
                                                                                                                  55164-0378
16274613                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Nov 14 2023 05:05:38      Lvnv Funding/Resurgent Capital, Attn:
                                                                                                                  Bankruptcy, PO Box 10497, Greenville, SC
                                                                                                                  29603-0497
16274614               + Email/Text: bankruptcydpt@mcmcg.com
                                                                                        Nov 14 2023 04:57:00      Midland Credit Managem, 320 E Big Beaver Rd,
                                                                                                                  Troy, MI 48083-1271
16274615                  Email/Text: bankruptcydpt@mcmcg.com
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District/off: 0422-9                                               User:                                                                  Page 2 of 3
Date Rcvd: Nov 13, 2023                                            Form ID: 309A                                                        Total Noticed: 28
                                                                                   Nov 14 2023 04:57:00     Midland Funding/Midland Credit Mgmt, Attn:
                                                                                                            Bankruptcy, PO Box 939069, San Diego, CA
                                                                                                            92193-9069
16274618                  EDI: NFCU.COM
                                                                                   Nov 14 2023 09:50:00     Navy Federal Cr Union, Attn: Bankruptcy, PO
                                                                                                            Box 3000, Merrifield, VA 22119-3000
16274617                  EDI: NFCU.COM
                                                                                   Nov 14 2023 09:50:00     Navy Federal Cr Union, PO Box 3700, Merrifield,
                                                                                                            VA 22119-3700
16274620                  EDI: AGFINANCE.COM
                                                                                   Nov 14 2023 09:50:00     Onemain Financial, Attn: Bankruptcy, PO Box
                                                                                                            3251, Evansville, IN 47731-3251
16274619                  EDI: AGFINANCE.COM
                                                                                   Nov 14 2023 09:50:00     Onemain Financial, PO Box 1010, Evansville, IN
                                                                                                            47706-1010
16274621               + EDI: RMSC.COM
                                                                                   Nov 14 2023 09:50:00     Synchrony/Paypal Credit, PO Box 71727,
                                                                                                            Philadelphia, PA 19176-1727
16274622                  EDI: RMSC.COM
                                                                                   Nov 14 2023 09:50:00     Synchrony/Paypal Credit, Attn: Bankruptcy, PO
                                                                                                            Box 965060, Orlando, FL 32896-5060
16276402               + Email/Text: USAVAE.Bankruptcynotices@usdoj.gov
                                                                                   Nov 14 2023 04:56:00     U.S. Attorney, Courthouse Square, 2100 Jamieson
                                                                                                            Avenue, Alexandria, VA 22314-5702

TOTAL: 21


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
16274605                         First Bank Trust
16274606                         Greenville, SC 29602
16274612                         Greenville, SC 29602
16274611                         Lvnv Funding LLC

TOTAL: 4 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 15, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 10, 2023 at the address(es) listed
below:
Name                              Email Address
Gerard R. Vetter
                                  ustpregion04.ax.ecf@usdoj.gov

H. Jason Gold
                                  goldtrustee@fiduciaryservicesgroup.com VA19@ecfcbis.com;hjg@trustesolutions.net;lgrahl@fsscommerce.com

Robert D. Moreton
                                  on behalf of Debtor Jeremiah J Wilks rdm@melawva.com
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                                        Certificate of Notice Page 6 of 6
District/off: 0422-9                                    User:                                                                Page 3 of 3
Date Rcvd: Nov 13, 2023                                 Form ID: 309A                                                      Total Noticed: 28
                          admin@melawva.com;moretonrr47492@notify.bestcase.com;moreton.robertb131872@notify.bestcase.com


TOTAL: 3
